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                              Exhibit 42

       Defendant Pennsylvania Insurance
     Company's Supplemental Objections and
    Responses to Plaintiff SPARTA Insurance
Company's Requests For Admission Nos. 1-9 & 23-25,
             dated January 8, 2024
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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

--------------------------------------------------------- x
SPARTA INSURANCE COMPANY                                  :
(as successor in interest to SPARTA Insurance
Holdings, Inc.),                                          :

                          Plaintiff,                     :    Civil Action
                                                              No. 21-11205-FDS
       v.                                                :

PENNSYLVANIA GENERAL INSURANCE                           :
COMPANY (now known as Pennsylvania
Insurance Company),                                      :

                           Defendant.                     :
--------------------------------------------------------- x

           DEFENDANT PENNSYLVANIA INSURANCE COMPANY’S
       SUPPLEMENTAL OBJECTIONS AND RESPONSES TO PLAINTIFF
  SPARTA INSURANCE COMPANY’S REQUESTS FOR ADMISSION NOS. 1-9 & 23-25




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         Pursuant to Federal Rules of Civil Procedure 26 and 33, and Rules 26.1, 26.3, and 33.1
 of the Local Rules of the United States District Court for the District of Massachusetts,
 Defendant Pennsylvania General Insurance Company (“PGIC”) n/k/a Pennsylvania Insurance
 Company, by and through its undersigned attorneys, hereby supplements its objections and
 responses to Plaintiff SPARTA Insurance Company’s (“SPARTA’s”) First and Second Sets of
 Requests for Admission as follows:

                          GENERAL RESPONSES AND OBJECTIONS

        Each of the General Objections and Responses set forth above, as well as in PGIC’s original
objections and responses to SPARTA’s First and Second Set of Requests for Admission, are
incorporated as though fully set forth in each of the responses herein. PGIC continues to review
SPARTA’s production and third-party productions and has yet to receive documents from non-party
Intact, but the following represents good-faith answers based on the information PGIC has received
and identified as relevant and/or responsive of the date of this supplemental response.

                  SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
                          REQUESTS FOR ADMISSION

         Notwithstanding and without waiving any of its General Objections, PGIC supplements
 its response and objections to Plaintiff’s Requests for Admission as follows:

 REQUEST FOR ADMISSION NO. 1:

        Admit that PGIC and AEIC entered into the Reinsurance Agreement on June 15, 2005, a
 true and correct copy of which is attached as Exhibit A.

 RESPONSE TO REQUEST FOR ADMISSION NO. 1:

        PGIC incorporates by reference every general objection set forth above into the specific
 response set forth below.

         Subject to the foregoing general and specific objections, and based on its investigation to
 date, Defendant responds as follows: Defendant admits that, based on documents currently
 available to it, Roger M. Singer purported to enter the Reinsurance Agreement on behalf of both
 PGIC and AEIC, and the document Plaintiff has attached as Exhibit A identifies June 15, 2005 as
 the date of execution. Defendant otherwise lacks sufficient knowledge to admit or deny this
 Request.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 1:

        Defendant incorporates by reference every general objection set forth above into this
 response. Subject to the foregoing general and specific objections, Defendants admits that PGIC
 and AEIC entered into a Reinsurance Agreement dated June 15, 2005.

REQUEST FOR ADMISSION NO. 2:

        Admit that PGIC signed the Reinsurance Agreement, a true and correct copy of which is
 attached as Exhibit A.

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RESPONSE TO REQUEST FOR ADMISSION NO. 2:

        PGIC incorporates by reference every general objection set forth above into the specific
 response set forth below.

        Subject to the foregoing general and specific objections, and based on its investigation to
 date, Defendant responds as follows: Defendant admits that, based on documents currently
 available to it, Roger M. Singer purported to sign the Reinsurance Agreement on behalf of PGIC.
 Defendant otherwise lacks sufficient knowledge to admit or deny this Request.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 2:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant admits PGIC signed
the Reinsurance Agreement attached as Exhibit A.

REQUEST FOR ADMISSION NO. 3:

      Admit that PGIC and AEIC, with OneBeacon as the Guarantor, entered into the SPA on
March 12, 2007, a true and correct copy of which is attached as Exhibit B.

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

        PGIC incorporates by reference every general objection set forth above into the specific
response set forth below. PGIC further objects that the phrase “OneBeacon as the Guarantor” is
vague and undefined and inaccurate to the extent it is intended to suggest that OneBeacon is not a
party to or did not enter into the SPA.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny
whether PGIC entered into the SPA on March 12, 2007, or whether Exhibit B is a true and
correct copy of any such SPA, except that Defendant admits that SPARTA has produced a copy
of what it has identified as the SPA, and that document includes a signature that purports to be
that of Michael T. Miller purporting to execute the SPA on behalf of PGIC and OBIC. Defendant
also specifically denies based on the face of the document identified as the SPA that AEIC was a
party.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 3:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant admits that PGIC and
OneBeacon Insurance Co. entered into a Stock Purchase Agreement with SPARTA Insurance
Holdings, Inc. on or about March 12, 2007, but denies that Exhibit B is a true and correct copy of
the SPA or that AEIC entered into the SPA.

REQUEST FOR ADMISSION NO. 4:

        Admit that PGIC signed the SPA, a true and correct copy of which is attached as Exhibit
 B.

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RESPONSE TO REQUEST FOR ADMISSION NO. 4:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below.

       Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny
whether PGIC signed the SPA, or whether Exhibit B is a true and correct copy of any such SPA,
except that Defendant admits that SPARTA has produced a copy of what it has identified as the
SPA, and that document includes a signature that purports to be that of Michael T. Miller
purporting to execute the SPA on behalf of PGIC and OBIC.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 4:

        Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant admits that PGIC and
OneBeacon Insurance Co. signed a Stock Purchase Agreement with SPARTA Insurance Holdings,
Inc. on or about March 12, 2007, but denies that Exhibit B is a true and correct copy of the SPA or
that AEIC entered into the SPA.

REQUEST FOR ADMISSION NO. 5:

     Admit that SPARTA did not provide written consent to the 2012 Transfer and
Assumption Agreement entered into between OneBeacon and PGIC.

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “did not
provide written consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, including because the information on which
a response would be based is in the exclusive possession of SPARTA and third parties and
discovery is ongoing.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 5:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant denies this request.

REQUEST FOR ADMISSION NO. 6:

      Admit that SPARTA did not provide oral consent to the 2012 Transfer and Assumption
Agreement entered into between OneBeacon and PGIC.

RESPONSE TO REQUEST FOR ADMISSION NO. 6:


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       Defendant incorporates by reference every general objection set forth above into the specific
response set forth below. Defendant objects to this Request because the phrase “did not
provide oral consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: To the extent that oral consent is defined to include express
verbal communications of consent, Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, including because the information on which a
response would be based is in the exclusive possession of SPARTA and third parties and discovery
is ongoing. To the extent oral consent is defined to include any implicit form of consent, Defendant
denies the Request. Defendant will supplement this response with any additional information that
becomes available during discovery.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 6:

        Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, to the extent that “oral
consent” is defined to include express verbal communications of consent, Defendant lacks
sufficient knowledge to admit or deny the assertions in this request despite reasonable inquiry,
including because the information on which a response would be based is in the exclusive
possession of SPARTA and third parties. To the extent that “oral consent” is defined to include
any form of consent, Defendant denies the request.

REQUEST FOR ADMISSION NO. 8:

      Admit that SPARTA did not provide written consent to the 2012 Stock Purchase
Agreement between OneBeacon and North American Casualty Co.

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant objects to this Request because the phrase “did not
provide written consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry as to any written consent between SPARTA
and OneBeacon Insurance Group because such information is in the exclusive possession of
SPARTA and third parties and discovery is ongoing.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 8:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant denies this request.

REQUEST FOR ADMISSION NO. 9:

      Admit that SPARTA did not provide oral consent to the 2012 Stock Purchase Agreement
between OneBeacon and North American Casualty Co.

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 RESPONSE TO REQUEST FOR ADMISSION NO. 9:

       Defendant incorporates by reference every general objection set forth above into the specific
response set forth below. Defendant objects to this Request because the phrase “did not provide oral
consent” is vague, ambiguous, and undefined.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: To the extent that oral consent is defined to include express
verbal communications of consent, Defendant lacks sufficient knowledge to admit or deny the
assertions in Request No. 9 as to any express oral consent between SPARTA and OneBeacon
Insurance Group despite reasonable inquiry because such information is in the exclusive possession
of SPARTA and third parties and discovery is ongoing. To the extent oral consent is defined to
include any implicit form of consent, Defendant denies the Request. Defendant will supplement this
response with any additional information that becomes available during discovery.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 9:

        Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, to the extent that “oral
consent” is defined to include express verbal communications of consent, Defendant lacks
sufficient knowledge to admit or deny the assertions in this request despite reasonable inquiry,
including because the information on which a response would be based is in the exclusive
possession of SPARTA and third parties. To the extent that “oral consent” is defined to include
any form of consent, Defendant denies the request.

REQUEST FOR ADMISSION NO. 23:

        Admit that there is no written document obtaining SPARTA’s consent to or approval of
 the 2012 Transfer and Assumption Agreement prior to October 1, 2012.

RESPONSE TO REQUEST FOR ADMISSION NO. 23:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because the phrase
“approval of” is vague, ambiguous, and undefined. Defendant also objects to this Request on the
ground that it is vague as to the meaning of “written document obtaining SPARTA’s consent”
inasmuch as it is unclear whether it encompasses interpretation of the written intracorporate 2005
Reinsurance Agreement between subsidiaries of a common corporate parent (including a
company that SPARTA claims was a predecessor in interest) and its implications for future
intracorporate transfers of liability within the same corporate family. Defendant interprets the
Request to exclude that agreement. Defendant objects to this Request to the extent it is
improperly seeking a legal conclusion and does not fall under the categories of “facts, the
application of law to fact, or opinions about either.” Fed. R. Civ. Proc. 36(a)(1)(A). Defendant
also objects to this Request to the extent that information sought is not in Defendant’s possession,
custody, or control, and discovery in this action is ongoing. Defendant further objects to this
Request as overbroad and unduly burdensome, including because Defendant was purchased as a
clean shell in 2012 and Defendant cannot speak to the contents of all documents not within its
possession, custody, or control.
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        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, because the information on which a
response would be based is in the exclusive possession of SPARTA and third parties and
discovery is ongoing. Defendant has propounded discovery requests for such information during
discovery in this matter. Defendant will supplement this response with any additional
information that becomes available during discovery.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 23:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant lacks sufficient
knowledge to admit or deny the assertions in this request because any information on which a
response could be based would be in the exclusive possession of SPARTA and third parties.

REQUEST FOR ADMISSION NO. 24:

        Admit that there is no written document obtaining SPARTA’s consent to or approval of
 the 2012 Stock Purchase Agreement prior to the closing of the 2012 sale of PGIC to North
 American Casualty Co.

RESPONSE TO REQUEST FOR ADMISSION NO. 24:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because the phrase
“approval of” is vague, ambiguous, and undefined. Defendant objects to this Request to the
extent it is improperly seeking a legal conclusion and does not fall under the categories of “facts,
the application of law to fact, or opinions about either.” Fed. R. Civ. Proc. 36(a)(1)(A).

        Defendant also objects to this Request to the extent that information sought is not in
Defendant’s possession, custody, or control, and discovery in this action is ongoing. Defendant
further objects to this Request as overbroad and unduly burdensome, including because
Defendant was purchased as a clean shell in 2012 and Defendant cannot speak to the contents of
all documents, particularly those not within its possession, custody, or control.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, because the information on which a
response would be based is in the exclusive possession of SPARTA and third parties and
discovery is ongoing. Defendant has propounded discovery requests for such information during
discovery in this matter. Defendant will supplement this response with any additional
information that becomes available during discovery.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 24:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant lacks sufficient
knowledge to admit or deny the assertions in this request because any information on which a

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response could be based would be in the exclusive possession of SPARTA and third parties.

REQUEST FOR ADMISSION NO. 25:

        Admit that there is no written document obtaining SPARTA’s consent to or approval of
the sale of PGIC to North American Casualty Co.

RESPONSE TO REQUEST FOR ADMISSION NO. 25:

        Defendant incorporates by reference every general objection set forth above into the
specific response set forth below. Defendant further objects to this Request because the phrase
“approval of” is vague, ambiguous, and undefined. Defendant objects to this Request to the
extent it is improperly seeking a legal conclusion and does not fall under the categories of “facts,
the application of law to fact, or opinions about either.” Fed. R. Civ. Proc. 36(a)(1)(A).
Defendant also objects to this Request to the extent that information sought is not in Defendant’s
possession, custody, or control, and discovery in this action is ongoing. Defendant further objects
to this Request as overbroad and unduly burdensome, including because Defendant was
purchased as a clean shell in 2012 and Defendant cannot speak to the contents of all documents,
particularly those not within its possession, custody, or control.

        Subject to the foregoing general and specific objections, and based on its investigation to
date, Defendant responds as follows: Defendant lacks sufficient knowledge to admit or deny the
assertions in this Request despite reasonable inquiry, because the information on which a
response would be based is in the exclusive possession of SPARTA and third parties and
discovery is ongoing. Defendant has propounded discovery requests for such information during
discovery in this matter. Defendant will supplement this response with any additional
information that becomes available during discovery.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 25:

       Defendant incorporates by reference every general objection set forth above into this
response. Subject to the foregoing general and specific objections, Defendant denies this request.


 Dated: January 8, 2024                                By:    /s/ Samuel C. Kaplan
                                                              Samuel C. Kaplan

                                                       Samuel C. Kaplan (admitted pro hac vice)
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                                       Counsel for Defendant Pennsylvania General
                                       Insurance Company




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                                    CERTIFICATE OF SERVICE

       I, Louis Salazar, declare:

       I am a citizen of the United States and employed in the City and County of San
Francisco, CA. I am over the age of 18 and not a party to the within action; my business address
is 44 Montgomery Street, 41st Floor, San Francisco, CA 94104.

       On January 8, 2024, I served the following document(s) described as:

       DEFENDANT PENNSYLVANIA INSURANCE COMPANY’S RESPONSES AND
       OBJECTIONS TO PLAINTIFF SPARTA INSURANCE COMPANY’S REQUESTS
       FOR ADMISSION NOS. 1-9 & 23-25

BY ELECTRONIC MAIL TRANSMISSION: By electronic mail transmission from
lsalazar@bsfllp.com by transmitting a PDF format copy of such document(s) to each such person
at the e-mail address(es) listed below. The document(s) was/were transmitted by electronic
transmission and such transmission was reported as complete and without error.

       James R. Carroll
       Christopher G. Clark
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       james.carroll@skadden.com
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       Counsel for Plaintiff
       SPARTA Insurance Company

        I declare that I am employed in the office of a member of the bar of this Court at whose
direction the service was made.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

       Executed on January 8, 2024, at San Francisco, California.


                                                      /s/Louis Salazar
                                                          Louis Salazar




                                               -11-
